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                        UNITED STATES COURT OF APPEALS
                            FOR THE EIGHTH CIRCUIT

                                      ___________________

                                          No: 19-2439
                                      ___________________

   Leroy Leftwich, trustee of the statutory class of next of kin to Cameron Leftwich, decedent

                                                Plaintiff - Appellant

                                                  v.

  Dakota County; Damion Giles; Caleb Kocher; Kent Themmes; Bryan Olson; Cody Swanson;
         City of Eagan; Roger New; Jennifer Wegner; Brian Rundquist; Brian Rezny

                                   Defendants - Appellees
______________________________________________________________________________

              Appeal from U.S. District Court for the District of Minnesota
                                (0:19-cv-00393-JNE)
______________________________________________________________________________

                                           JUDGMENT


Before LOKEN, SHEPHERD, and GRASZ, Circuit Judges.


       The court has carefully reviewed the original file of the United States District Court and

orders that this appeal be dismissed for lack of jurisdiction.

                                                       August 13, 2019




Order Entered at the Direction of the Court:
Clerk, U.S. Court of Appeals, Eighth Circuit.
____________________________________
            /s/ Michael E. Gans




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